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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF OKLAHOMA

      UNITED STATES OF AMERICA,

                   Plaintiff,
      and

      OSAGE MINERALS COUNCIL,

                   Intervenor-Plaintiff,

      v.                                            Case No. 14-cv-00704-JCG-JFJ

      OSAGE WIND, LLC;
      ENEL KANSAS, LLC; and
      ENEL GREEN POWER NORTH
      AMERICA INC.,

                   Defendants.

                    Notice of Appeal by the United States of America

      Plaintiff, the United States of America (United States), hereby provides notice of

   its appeal to the U.S. Court of Appeals for the Tenth Circuit from the Final

   Judgment entered herein on December 18, 2024 (Doc. 516), and from all adverse

   orders, rulings, decrees, decisions, opinions, memoranda, conclusions, or findings

   preceding, leading to, merged in, subsumed in, impacting within, identified within,

   or included within the Final Judgment, including but not limited to the December

   18, 2024 Opinion and Order (Doc. 515) awarding damages, ejectment, and

   attorneys’ fees and costs; and the Order Granting Summary Judgment in Favor of

   Plaintiff United States and Intervenor-Plaintiff Osage Minerals Council on December

   20, 2023 (Doc. 386).
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                                          Respectfully submitted,

                                          THE UNITED STATES OF AMERICA
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                                  Certificate of Service

      I certify that on February 18, 2025, the foregoing document was electronically
   transmitted to the Clerk of Court using the ECF System for filing and transmittal of a
   Notice of Electronic Filing to counsel of record.

                                          s/ Nolan M. Fields IV




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